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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA



UNITED STATES OF AMERICA,

                      Plaintiff,
                                                                    8:13CR266
       vs.
                                                                     ORDER
JAVIER ROCHIN-ROCHIN,

                      Defendant.



       The U.S. Marshals Service is holding $2,800.00 in United States currency seized from

the Defendant, Javier Rochin-Rochin, in connection with this criminal case. Pursuant to the

dismissal of the Indictment against the Defendant, the United States agreed to return this money

to a third party on behalf of the Defendant. Accordingly,

       IT IS ORDERED:

       The U.S. Marshals Service is directed to return said currency to Annette Salazar on

behalf of Javier Rochin-Rochin.

       DATED this 8th day of November, 2013.


                                                    BY THE COURT:



                                                    s/ F.A. Gossett
                                                    United States Magistrate Judge
